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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. ____________-CIV-___________/____________


  JUAN CARNIGLIA, on behalf of himself
  and others similarly situated,


         Plaintiff,

  v.

  MY CEVICHE CORAL GABLES LLC, a Florida Limited
  Liability Company, a/k/a 27 ENTREPRENEURS MIRACE MILE
  LLC, and ROGER DUARTE, individually,

        Defendants.
  _____________________________________________________/

                                           COMPLAINT

         1.      Plaintiff, JUAN CARNIGLIA (hereinafter referred to as “Plaintiff”), is an

  individual residing in Miami-Dade County, Florida.

         2.      Defendants, MY CEVICHE CORAL GABLES LLC, a/k/a 27 ENTREPRENEURS

  MIRACE MILE LLC, and ROGER DUARTE, individually (collectively referred to as

  “Defendants”), have at all times material to this Complaint owned and operated restaurants doing

  business as “MY CEVICHE” at approximately six (6) locations throughout Miami-Dade County

  including at 232 Miracle Mile, Coral Gables, Florida 33134, within the jurisdiction of this Court.

         3.      Defendant, ROGER DUARTE, has at all times material to this Complaint owned

  and managed MY CEVICHE CORAL GABLES LLC, a/k/a 27 ENTREPRENEURS MIRACE

  MILE LLC, and Defendant DUARTE has regularly exercised the authority to hire and fire

  employees including Plaintiff, determined the manner in which Plaintiff and other employees were

  compensated, determined how Plaintiff and other employees’ hours worked were tracked or



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  recorded, set the rates of pay of Plaintiff and other employees, and/or controlled the finances and

  day-to-day management operations of MY CEVICHE CORAL GABLES LLC, a/k/a 27

  ENTREPRENEURS MIRACE MILE LLC. By virtue of such control and authority, Defendant

  DUARTE is an employer of Plaintiff and the other employees of MY CEVICHE CORAL

  GABLES LLC, a/k/a 27 ENTREPRENEURS MIRACE MILE LLC, similarly situated to Plaintiff

  as defined by the FLSA, 29 U.S.C. §203(d).

           4.     Plaintiff brings this action on behalf of himself 1 and other current and former
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  employees of Defendants similarly situated to Plaintiff who have worked as misclassified

  restaurant employees, however variously titled, for unpaid overtime wages, liquidated damages,

  and the costs and reasonable attorneys’ fees of this action under the provisions of the FLSA, 29

  U.S.C. §216(b), as well as for alleged unpaid minimum wages due and owing to Plaintiff under

  the FLSA and Florida law. It is the intent of this collective action to apply to all similarly situated

  employees of Defendants regardless of location.

           5.     Jurisdiction is conferred on this Court by 29 U.S.C. §216(b) and 28 U.S.C. §1337

  & §1367.

           6.     A substantial part of the events giving rise to this action occurred in Miami-Dade,

  Florida within the jurisdiction of the United States District Court for the Southern District of

  Florida.

           7.     At all times material to this Complaint including but not necessarily limited to

  during the years of 2016, 2017, 2018, and 2019, MY CEVICHE CORAL GABLES LLC, a/k/a 27

  ENTREPRENEURS MIRACE MILE LLC, have had two (2) or more employees who have

  regularly sold, handled, or otherwise worked on goods and/or materials that had been moved in or



  1
      Attached hereto is a signed Consent to Join of JUAN CARNIGLIA.


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  produced for commerce. In this regard, Plaintiff alleges based upon information and belief and

  subject to discovery, that at all times material to this Complaint including during the years 2016,

  2017, 2018, and 2019, MY CEVICHE CORAL GABLES LLC, a/k/a 27 ENTREPRENEURS

  MIRACE MILE LLC, have employed two (2) or more employees who, inter alia, have regularly:

  (a) handled, worked with, and sold food and beverages including but not limited to fish, shrimp,

  chicken tuna, vegetables—such as cucumber, tomato, onion, carrot, radish, and corn, tortillas, rice,

  quinoa, salsa, guacamole, salsa, sodas, juices, and iced tea; (b) handled and worked with cooking

  equipment such as, grills and refrigerators which were all goods and/or materials moved in or

  produced for commerce; (c) handled and worked with computers, telephones, papers, pens, and

  other supplies and materials in the operation of Defendants’ restaurant business, all of which were

  goods and/or materials moved in or produced for commerce; and (d) processed and participated in

  credit card and electronic bank transactions in interstate commerce.

         8.      Based upon information and belief, the annual gross sales volume of MY

  CEVICHE CORAL GABLES LLC, a/k/a 27 ENTREPRENEURS MIRACE MILE LLC, has been

  in excess of $500,000.00 per annum at all times material to this Complaint, including but not

  necessarily limited to during the years of 2016, 2017, 2018, and 2019.

         9.      At all times material to this Complaint, including but not necessarily limited to

  during the years of 2016, 2017, 2018, and 2019, MY CEVICHE CORAL GABLES LLC, a/k/a 27

  ENTREPRENEURS MIRACE MILE LLC, has constituted an enterprise engaged in interstate

  commerce or in the production of goods for commerce as defined by the FLSA, 29 U.S.C. §203(s).

         10.     In approximately late July 2019, Defendants hired Plaintiff in the job title of

  “Assistant General Manager” based upon salary of $692.31 per week ($36,000/year) until early

  September 2019 when Defendants changed Plaintiff’s compensation to $711.54 per week




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  ($37,000/year), followed by Defendants changing Plaintiff’s compensation a final time in early

  October 2019 to $807.70 per week ($42,000/year). Likewise, during approximately the last two

  (2) weeks of Plaintiff’s employment with Defendants between late October 2019 and early

  November 2019, Defendants changed Plaintiff’s job title to “General Manager.”

         11.     In numerous work weeks during the three (3) year statute of limitations period

  between approximately July 2019 and November 2019, Plaintiff worked for Defendants at their

  “MY CEVICHE” restaurant location 232 Miracle Mile, Coral Gables, Florida 33134 in the job

  titles of “Assistant General Manager” followed by “General Manager” with Plaintiff’s primary

  duties throughout his employment that consisted of the following non-exempt tasks: (a) cooking;

  (b) line work, expediting food, and assisting customers including running the register; (c)

  dishwashing, mopping, and cleaning the restaurant; and (c) painting, roof work, and making other

  repairs for Defendants’ restaurant.

         12.     The additional persons who may become Plaintiffs in this action are Defendants’

  current and former misclassified salaried “Assistant General Managers,” “General Managers, and

  other restaurant employees, however variously titled, who have worked for Defendants at any

  location in one or more weeks between November 2016 and the present without being paid time

  and one-half wages for all of their actual hours worked in excess of Forty (40) hours per week for

  Defendants.

         13.     During numerous work weeks within the three (3) year statute of limitations period

  between approximately July 2019 and November 2019, Plaintiff regularly worked in excess of

  Forty (40) hours per week for Defendants while performing primary duties were non-exempt for

  the benefit of Defendants.




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         14.     Likewise, the other employees of Defendants who are similarly situated to Plaintiff

  have regularly worked as salaried “Assistant General Managers,” “General Managers, and other

  restaurant employees, however, variously titled, in excess of Forty (40) hours in one or more work

  weeks for Defendants within the three (3) year statute of limitations period between November

  2016 and the present.

         15.     However, Defendants have failed to pay time and one-half wages for the overtime

  hours worked by Plaintiff and the other similarly situated salaried “Assistant General Managers,”

  “General Managers, and other restaurant employees, however variously titled, for all of their actual

  overtime hours worked during multiple work weeks within the three (3) year statute of limitations

  period between November 2016 and the present.

         16.     The primary job duties performed by Plaintiff and the other similarly situated

  salaried “Assistant General Managers,” “General Managers, and other restaurant employees,

  however variously titled, for Defendants between November 2016 and the present did not involve

  the exercise of independent judgment nor were their primary duties administrative tasks that

  involved exercising discretion for Defendants’ general business operations.

         17.     Likewise, the primary duties and work performed by Plaintiff and the other

  similarly situated salaried “Assistant General Managers,” “General Managers, and other restaurant

  employees, however variously titled, for Defendants between November 2016 and the present have

  required little skill and no capital investment, as these duties did not substantially include

  managerial responsibilities or the exercise of independent judgment with respect to matters of

  significance in the operation of Defendants’ administrative operations.

         18.     Instead, Plaintiff and the other similarly situated salaried “Assistant General

  Managers,” “General Managers, and other restaurant employees, however variously titled, have




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  devoted the majority of their working time for Defendants within the three (3) year statute of

  limitations period between November 2016 and the present to performing manual labor and other

  ministerial and clerical tasks for Defendants.

         19.     Finally, the primary duties of Plaintiff and the other similarly situated salaried

  “Assistant General Managers,” “General Managers, and other restaurant employees, however

  variously titled, for Defendants during the three (3) year statute of limitations period between

  November 2016 and the present was not management of any department(s) or job sites of

  Defendants, and Plaintiff and the other similarly situated employees exercised little or no authority

  for and did not regularly interview, hire, discipline, or fire employees of Defendants.

         20.     During the three (3) year statute of limitations period between approximately July

  2019 and November 2019, Plaintiff regularly worked Five (5) days per week—and in some weeks

  Six (6) days per week—for Defendants, with start times of between approximately 10:00 and 11:30

  a.m. and stop times between approximately 10:00 p.m. to Midnight.

         21.     However, Defendants failed to pay time and one-half wages for all of the hours that

  Plaintiff and salaried “Assistant General Managers,” “General Managers, and other restaurant

  employees, however variously titled, worked in excess of Forty (40) hours per week in numerous

  work weeks during the three (3) year statute of limitations period between November 2016 and

  the present as required by the Fair Labor Standards Act.

         22.     Subject to discovery, based upon Defendants paying Plaintiff average gross weekly

  wages of $692.31 per week for Forty (40) hours of work per week followed by $711.54 per week

  and $807.70 per week during a total of approximately Fourteen (14) work weeks between

  approximately July 2019 and November 2019 and Plaintiff working an average of approximately

  Sixty-Five (65) hours per week, if Plaintiff’s unpaid overtime wages are found to be due and owing




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  at the time and one-half rates of $25.96/hour [$692.31/40 hours = $17.31/hour x 1.5 =

  $25.96/hour], $26.68/hour [$711.54/40 hours = $17.79/hour x 1.5 = $26.68/hour], and $30.29/hour

  [$807.70/40 hours = $20.19/hour x 1.5 = $30.29/hour], Plaintiff’s unpaid overtime wages total

  $9,609.42 [($25.96/hour x 25 OT hours/week x 5 weeks = $3,245.20) + ($26.68/hour x 25 OT

  hours/week x 5 weeks = $3,335.34) + ($30.29/hour x 25 OT hours/week x 4 weeks = $3,028.88)

  = $9,609.42], whereas if Defendants were to be able to demonstrate that the FLSA’s “fluctuating

  workweek method,” 29 C.F.R. §778.114, governs the calculation of Plaintiff’s unpaid overtime

  wages on a half-time basis at the rates of $5.33/hour [$692.31/65 hours = $10.65/2 = $5.33/hour],

  $5.47/hour [$711.54/65 hours = $10.95/2 = $5.47/hour], and $30.29/hour [$807.70/65 hours =

  $12.43/2 = $6.21/hour], Plaintiff’s unpaid overtime wages total $1,971.16 [($5.33/hour x 25 OT

  hours/week x 5 weeks = $665.68) + ($5.47/hour x 25 OT hours/week x 5 weeks = $684.17) +

  ($6.21/hour x 25 OT hours/week x 4 weeks = $621.31) = $1,971.16].

         23.     Based upon information and belief, Defendants have failed to maintain accurate

  records of the all of the actual start times, stop times, number of hours worked each day, and total

  hours actually worked each week by Plaintiff and salaried “Assistant General Managers,” “General

  Managers,” and other restaurant employees, however variously titled, during each week between

  approximately November 2016 and the present as required by the FLSA, 29 C.F.R. §516.2(a)(7).

         24.     Defendants had knowledge of the hours worked in excess of Forty (40) hours per

  week by Plaintiff and salaried “Assistant General Managers,” “General Managers,” and other

  restaurant employees, however variously titled, during each week between November 2016 and

  the present but Defendants have willfully failed to compensate Plaintiff and the other similarly

  situated employees for all of their actual overtime hours worked for Defendants, instead accepting

  the benefits of the work performed by Plaintiff and other employees without the overtime




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  compensation required by the FLSA, 29 U.S.C. §207.

         25.     The complete records reflecting the compensation paid by Defendants to Plaintiff

  and all other salaried “Assistant General Managers,” “General Managers,” and other restaurant

  employees, however variously titled, at any location between November 2016 and the present are

  in the possession, custody, and/or control of Defendants.

                                   COUNT I
             OVERTIME VIOLATIONS OF THE FAIR LABOR STANDARDS ACT

         26.     Plaintiff, JUAN CARNIGLIA, readopts and realleges the allegations contained in

  Paragraphs 1 through 25 above.

         27.     Plaintiff is entitled to be paid time and one-half of his applicable regular rates of

  pay for each hour he worked for Defendants as a non-exempt employee in excess of Forty (40)

  hours per work week during the three (3) year statute of limitations period between approximately

  July 2019 and November 2019.

         28.     All similarly situated salaried “Assistant General Managers,” “General Managers,”

  and other restaurant employees, however variously titled, of Defendants are also entitled to be paid

  time and one-half of their applicable regular rates of pay for each and every overtime hour they

  worked for Defendants at any location but were not properly compensated for working on

  Defendants’ behalf during any work weeks within the three (3) year statute of limitations period

  between November 2016 and the present.

         29.     Defendants knowingly and willfully failed to pay Plaintiff and salaried “Assistant

  General Managers,” “General Managers,” and other restaurant employees, however variously

  titled, similarly situated to him at time and one-half of their applicable regular rates of pay for all

  hours worked for Defendants in excess of Forty (40) per week between November 2016 and the

  present.



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         30.     At all times material to this Complaint, Defendants had constructive and actual

  notice that Defendants’ compensation practices did not provide Plaintiff and salaried “Assistant

  General Managers,” “General Managers,” and other restaurant employees, however variously

  titled, with time and one-half wages for all of their actual overtime hours worked between

  November 2016 and the present based upon, inter alia, Defendants knowingly failing to pay time

  and one-half wages for all of the actual hours worked in excess of Forty (40) hours per week by

  Plaintiff and other similarly situated employees.

         31.     By reason of the said intentional, willful and unlawful acts of Defendants, all

  Plaintiffs (the named Plaintiff and those similarly situated to him) have suffered damages plus

  incurring costs and reasonable attorneys’ fees.

         32.     Based upon information and belief, at all times material to this Complaint,

  Defendants did not have a good faith basis for their failure to pay time and one-half wages for all

  of the actual hours worked by Plaintiff and salaried “Assistant General Managers,” “General

  Managers,” and other restaurant employees, however variously titled, as a result of which Plaintiff

  and those similarly situated to him are entitled to the recovery of liquidated damages from

  Defendants pursuant to 29 U.S.C. §216(b).

         33.     Plaintiff has retained the undersigned counsel to represent him in this action, and

  pursuant to 29 U.S.C. §216(b), Plaintiff is entitled to recover from Defendants all reasonable

  attorneys’ fees and costs incurred as a result of Defendants’ violations of the FLSA.

         34.     Plaintiff demands a jury trial.

         WHEREFORE, Plaintiff, JUAN CARNIGLIA, and any current or former employees

  similarly situated to him who join this action as Opt-In Plaintiffs, demand judgment against

  Defendants, jointly and severally, MY CEVICHE CORAL GABLES LLC, a/k/a 27




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   ENTREPRENEURS MIRACE MILE LLC, and ROGER DUARTE, for the payment of all unpaid

   overtime compensation, liquidated damages, reasonable attorneys’ fees and costs of suit, and for

   all proper relief including prejudgment interest.

                                COUNT II
         MINIMUM WAGE VIOLATIONS OF THE FAIR LABOR STANDARDS ACT

          Plaintiff, JUAN CARNIGLIA, readopts and realleges the allegations contained in

   Paragraphs 1 through 25 above.

          35.     Plaintiff is entitled to the minimum wage of $7.25 per hour required by the Fair

   Labor Standards Act for every hour he worked for Defendants as a non-exempt employee week

   within the three (3) year statute of limitations period between approximately July 2019 and

   November 2019.

          36.     However, Defendants failed to pay Plaintiff at least the minimum wage required by

   the law for each and every hour he worked for Defendants during his final week of work between

   approximately late October 2019 and early November 2019.

          37.     At all times material to this Complaint, Defendants had knowledge that Plaintiff

   performed work for the benefit of Defendants between approximately late October 2010 and early

   November 2019 without compensation at the minimum wage required by the FLSA.

          38.     Defendants knowingly and willfully failed to pay Plaintiff at least the minimum

   wage required by the FLSA for all of his actual hours worked for Defendants during his final week

   of work between approximately late October 2019 and early November 2019.

          39.     By reason of Defendants’ intentional, willful and unlawful act, Plaintiff has

   suffered damages plus incurring costs and reasonable attorneys’ fees.

          40.     Defendants did not have a good faith basis for their failure to pay Plaintiff the

   minimum wages required by the FLSA, as a result of which Plaintiff is entitled to the recovery of



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   liquidated damages in an amount equal to his unpaid minimum wages from Defendants pursuant

   to 29 U.S.C. §216(b).

          41.     Plaintiff has retained the undersigned counsel to represent him in this action, and

   pursuant to 29 U.S.C. §216(b), Plaintiff is entitled to recover from Defendants all reasonable

   attorneys’ fees and costs incurred as a result of Defendants’ violations of the FLSA.

          42.     Plaintiff demands a jury trial.

          WHEREFORE, Plaintiff, JUAN CARNIGLIA, demands judgment, jointly and severally,

   against MY CEVICHE CORAL GABLES LLC, a/k/a 27 ENTREPRENEURS MIRACE MILE

   LLC, and ROGER DUARTE, for the payment of all unpaid minimum wages, liquidated damages,

   reasonable attorneys’ fees and costs of suit, and for all proper relief including prejudgment interest.

                               COUNT III
   VIOLATION OF THE FLORIDA CONSTITUTION, ART. X, § 24 – MINIMUM WAGES

          Plaintiff, JUAN CARNIGLIA, realleges and reincorporate all allegations contained within

   Paragraphs 1 through 25 above as though fully stated herein.

          43.     Plaintiffs is entitled to be paid the minimum wage required under Florida law of

   $8.46 per hour for each hour worked during his employment with Defendants between

   approximately July 2019 and November 2019.

          44.     However, Defendants willfully failed to pay Plaintiff the minimum wage for one or

   more weeks of work during his employment between approximately July 2019 and November

   2019 contrary to Article X, Section 24 of the Florida Constitution.

          45.     At all times material to this Complaint, Defendants had knowledge that Plaintiff

   performed work for the benefit of Defendants between approximately July 2019 and November

   2019 without compensation at the minimum wage required by Florida law.

          46.     Subject to discovery, based upon Defendants owing Plaintiff $8.46 per hour for



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   approximately Sixty-Five (65) hours of work for which Plaintiff was not compensated at all during

   his final week of work with Defendants between approximately late October 2019 and early

   November 2019, Plaintiff’s unpaid minimum wages total approximately $549.90 [$8.46/hour x 65

   hours = $549.90].

          47.     By reason of Defendants’ intentional, willful and unlawful act, all Plaintiffs (the

   named Plaintiff and those employees similarly situated to him) have suffered damages plus

   incurring costs and reasonable attorneys’ fees.

          48.     Defendants did not have a good faith basis for their failure to pay at least the

   minimum wage required by Florida law for all of the actual hours worked by Plaintiff, as a result

   of which Plaintiff is entitled to the recovery of liquidated damages in an amount equal to his unpaid

   minimum wages from Defendants.

          49.     Plaintiff has retained the undersigned counsel to represent him in this action, and

   pursuant to Florida law, including but not necessarily limited to F.S. §448.08, Plaintiff is entitled

   to recover from Defendants all reasonable attorneys’ fees and costs.

          50.     Plaintiff demands a jury trial.

          WHEREFORE, Plaintiff, JUAN CARNIGLIA, demands judgment, jointly and severally,

   against Defendants, MY CEVICHE CORAL GABLES LLC, a/k/a 27 ENTREPRENEURS

   MIRACE MILE LLC, and ROGER DUARTE, for the payment of all unpaid minimum wages,

   liquidated damages, reasonable attorneys’ fees and costs of suit, and for all proper relief including

   prejudgment interest.



                                       JURY TRIAL DEMAND

          Plaintiff demands trial by jury on all issues so triable.




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   Dated: November 26, 2019          Respectfully submitted,

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